

After Remand from the Supreme Court

ROBERTSON, Presiding Judge.
This court affirmed the trial court’s judgment, without an opinion. Employees’ Retirement Sys. Bd. of Control v. Williford, 740 So.2d 492 (Ala.Civ.App.1998) (table). This court’s judgment has been reversed and the cause remanded by the Supreme Court of Alabama. Ex parte Employees’ Retirement Sys. Bd. of Control, 767 So.2d 331 (Ala.2000). On remand to this court, and in compliance with the Supreme Court’s opinion, the judgment of the trial court is hereby reversed and the cause remanded for further proceedings consistent with the Supreme Court’s opinion.
REVERSED AND REMANDED WITH INSTRUCTIONS.
YATES, MONROE, CRAWLEY, and THOMPSON, JJ„ concur.
